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January 24, 2020

BY CM/ECF AND EMAIL

Hon. Analisa Torres
United States District Court
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, NY 10007-1312
Torres_NYSDChambers@nysd.uscourts.gov

       Re:     Contrarian Capital Management, LLC v. Bolivarian Republic of Venezuela,
               No. 19 Civ. 11018 (rel. Nos. 19 Civ. 3123 & 18 Civ. 11940):
               Initial Pretrial Conference

Dear Judge Torres:

        We represent Plaintiffs in this matter. Pursuant to Rule II(B) of the Court’s individual
practices, we write to respectfully request that the Court adjourn the pretrial conference currently
scheduled for February 3, 2020. See Dkt. 11.

        An adjournment is necessary because the defendant in this action, the Bolivarian
Republic of Venezuela (the “Republic”), has not yet been served with process despite Plaintiffs’
diligent attempts.     Pursuant to the parties’ contracts governing this action, Plaintiffs have
attempted service on the Republic at its New York Consulate on December 4, 5, 9, 23, and 27,
2019 and January 9, 2020. See 28 U.S.C. § 1608(a)(1) (permitting service on foreign govern-
ments via “special arrangement”). However, those service attempts have been unsuccessful
because the Republic’s New York Consulate is currently closed. Given that closure, and given
that service via international convention or mail on the Republic is unavailable, see id.
§§ 1608(a)(2)-(3), Plaintiffs have requested that the Clerk of this Court arrange for service on the
Republic via diplomatic channels under 28 U.S.C. § 1608(a)(4). The Clerk dispatched Plaintiffs’
service package to the U.S. Department of State for service on the Republic on January 14, 2020.
See Dkt. 24 (certificate of mailing). We will advise the Court promptly when service is complete.

        Given that service efforts on the Republic are ongoing, we therefore respectfully request
that the February 3 pretrial conference be adjourned until Plaintiffs notify the Court that service
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Hon. Analisa Torres                                                         January 24, 2020

has been completed.    This is the Plaintiffs’ first request for an adjournment of the pretrial
conference.



                                                  Respectfully submitted,

                                                  /s/ Steven F. Molo
                                                  Steven F. Molo


CC:    All counsel of record via CM/ECF




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